United States Bankruptcy Court
For the Eastern District of Wisconsin

 

In Re:

LIsa M. Fenske

Case No. 11-32073-MDM

Chapter 13

 

Affidavit and Request for Release
Of Unclaimed Funds

 

 

ADSHNY 6d AP 6107

SIRE wong

Dilks & Knopik, LLC as assignee to Advance America (who is a claimant in the
captioned case) respectfully states and requests the following:

1.

Advance America was a creditor of the Debtor and was entitled to receive
and the trustee did, in fact, make a distribution from the estate to Advance
America in the amount of $306.06, which is the sum of all monies
deposited.

Pursuant to 11 U.S.C. Section 347, ninety days after the final distribution
of the assets of the estate, the distribution had not been negotiated and the
unclaimed funds were paid into the court.

The creditor did not receive the dividend check in the above case for the
following reason:

Dividends were not collected by the creditor, Advance America. Advance
America has assigned the unclaimed funds and its claim to Dilks &
Knopik LLC as evidenced by the attached Assignment Agreement.

The claimant’s current mailing address is:

Dilks & Knopik, LLC as assignee to Advance America
35308 SE Center Street

Snoqualmie, WA 98065

425-836-5728

Last four digits of SS#/Tax ID: 9851

5. Pursuant to 28 U.S.C. Section 2024, the claimant requests that the Court issue an
order directing payment of the unclaimed funds in the amount of $306.06 to the
Claimant, Dilks & Knopik, LLC and mail it to 35308 SE Center St, Snoqualmie, WA

98065.

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TWi-OF Us
 

)
Dated: July 23, 2019 4
Brians Dilks,Managing Member
AKs & ik, LLC

As assignee to Advance America
35308 SE Center St
Snoqualmie, WA 98065

State of Washington)
County of King)

On 7/23 / P before me, Brian J. Dilks, personally appeared, personally known to me (or proved
to me on the basis of satisfactory evidence) to be the person (s) whose name is subscribed to the within
instrument and acknowledged to me that he executed the same in his authorized capacity, and that by his
signature on the instrument the person, or entity upon behalf of which the person acted, executed the

instrument. ‘(se seal.
Signature ? £

Andrew T. Draké-Notary Public
My commission expires on September 9, 2019

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United States Bankruptcy Court
For the Eastern District of Wisconsin

 

In Re: Case No. 11-32073-MDM
Llsa M. Fenske

Chapter 13

 

Affidavit of Mailing

 

NOTICE IS HEREBY GIVEN that on July 23, 2019, I deposited in the Post
Office in the City of Issaquah, State of Washington, securely enclosed in a sealed
envelope, a true and correct copy of:

Affidavit and Request for Release of Unclaimed Funds

To: United States Attorney United States Bankruptcy Court
Eastern District of Wisconsin Eastern District of Wisconsin
530 Federal Building 517 East Wisconsin Avenue
517 East Wisconsin Avenue Room 126
Attn: Susan M. Knepel Attn: Loretta Gordon
Milwaukee, Wisconsin 53202 Milwaukee, WI 53202

{

Dated: July 23, 2019

 

Brig. Dilks, Managing Member
ilks & Knopik, LLC

35308 SE Center St

Snoqualmie, WA 98065

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Dilks &z Knopik

CERTIFICATE OF LLC RESOLUTION

The undersigned Members of Dilks & Knopik, LLC, an LLC, duly organized under the laws of
Washington (hereinafter “The LLC”), hereby certify that the following resolutions were duly adopted by
said Members of The LLC on June 7", 2002 and that such resolutions have not been modified or

rescinded as of the date hereof:

RESOLVED, that Brian J Dilks, is hereby authorized and directed for and on behalf of The LLC
to execute all legal documents as approved by him/her as being in the best interests of The LLC; and to
take any and all further actions which may be necessary or appropriate to commence and complete said

construction in such a manner as being, in his/her opinion, in the best interests of the LLC.

RESOLVED, that this action may be executed in counterparts and by facsimile signatures, each

of which shall be deemed an original and all of which together shall constitute one action.

IN WITNESS WHEREOF, the undersigned has executed this instrument as of this day of

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Date: ¢/! | (8

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Caryn M Dis f/k/a Caryn M Knopik oer. watt oe
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CERTIFICATE OF LLC RESOLUTION

The undersigned Members of Dilks & Knopik, LLC, an LLC, duly organized under the laws of
Washington (hereinafter “The LLC”), hereby certify that the following resolutions were duly adopted by
said Members of The LLC on June 7", 2002 and that such resolutions have not been modified or

rescinded as of the date hereof:

RESOLVED, that Caryn M Dilks f/k/a Caryn M Knopik, is hereby authorized and directed for

Dilk & Knopik

and on behalf of The LLC to execute all legal documents as approved by him/her as being in the best

interests of The LLC; and to take any and all further actions which may be necessary or appropriate to
commence and complete said construction in such a manner as being, in his/her opinion, in the best

interests of the LLC.

RESOLVED, that this action may be executed in counterparts and by facsimile signatures, each

of which shall be deemed an original and all of which together shall constitute one action.

IN WITNESS WHEREOF, the undersigned has executed this instrument as of this day of
June ,20 1%

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- oe HO fz
Caryn M DNiks f/k/a Caryn M Knopik 2 eT HOS
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Date: to| \ | IR dg We

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Filed
SSE

‘ YY Secretary of State
eam State of Washington
Office of the Secretary of State Date Filed: 05/10/2019

Corporations & Charities Division Effective Date: 05/10/2019
UBI #: 602 211 447

 

 

 

 

 

EXPRESS ANNUAL REPORT WITHOUT CHANGES

BUSINESS INFORMATION

 

Business Name:
DILKS & KNOPIK, LLC

UBI Number:
602 211 447

Business Type:
WA LIMITED LIABILITY COMPANY

Business Status:
ACTIVE

Principal Office Street Address:
35308 SE CENTER ST, SNOQUALMIE, WA, 98065-9216, UNITED STATES

Principal Office Mailing Address:
35308 SE CENTER ST, SNOQUALMIE, WA, 98065-9216, UNITED STATES

Expiration Date:
06/30/2020

Jurisdiction:
UNITED STATES, WASHINGTON

Formation/Registration Date:
06/07/2002

Period of Duration:
PERPETUAL

Inactive Date:

Nature of Business:
OTHER SERVICES

REGISTERED AGENT RCW 23.95.410

 

Registered Agent

N Street Address Mailing Address
ame

28431 SE PRESTON WAY, ISSAQUAH, WA, 28431 SE PRESTON WAY, ISSAQUAH, WA,
98027-0000, UNITED STATES 98027-0000, UNITED STATES

GOVERNORS

BRIAN DILKS

 

Title Type Entity Name First Name Last Name
GOVERNOR INDIVIDUAL BRIAN DILKS

GOVERNOR INDIVIDUAL CARYN DILKS

 

This document is a public record. For more information visit www.sos.wa.gov/corps Work Order #: 2019051000246334 - 1
Received Date: 05/10/2019

Amount Received: $60.00
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Dilks | &| Knopik

CERTIFICATE OF LLC RESOLUTION

The undersigned Members of Dilks & Knopik, LLC, an LLC, duly organized under the laws of
Washington (hereinafter “The LLC”), hereby certify that the following resolutions were duly adopted by
said Members of The LLC on June 7", 2002 and that such resolutions have not been modified or

rescinded as of the date hereof:

RESOLVED, that Jeffrey Hudspeth, is hereby authorized and directed for and on behalf of The
LLC to execute all legal documents as approved by him/her as being in the best interests of The LLC; and
to take any and all further actions which may be necessary or appropriate to commence and complete said

construction in such a manner as being, in his/her opinion, in the best interests of the LLC.

RESOLVED, that this action may be executed in counterparts and by facsimile signatures, each

of which shall be deemed an original and all of which together shall constitute one action.

IN WITNESS WHEREOF, the undersigned has executed this instrument as of this lO _ day of
May , 20.14

 

 

 

 

 

Caryn M Dilks #k/a Caryn M Knopik - Member

Date: 5) 10| J

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Dilks | &|Knopik

Assignment Agreement

This Assignment Agreement (the “Agreement”) is entered into as of Thursday, June 27, 2019 (the
“Effective Date”) by and between Dilks & Knopik, LLC, a Washington Limited Liability Company, with
a principal place of business at 35308 SE Center Street, Snoqualmie, WA 98065, (the “Assignee™) and
Advance America, Cash Advance Centers, Inc. with an address of 135 N. Church Street, Spartanburg SC
29306 (the “Assignor”).

1. Recitals
1.

L.1.

Assignor is/was a properly named and lawful creditor in multiple bankruptcy

cases as shown listed in Schedule A. (the “Cases”). As a creditor in the Cases, Assignor was entitled to
distribution of funds from the assets of the Debtor’s Bankruptcy Estate in the amounts listed in Schedule
A (the “Funds”). Remittance to Assignor was not successful, and pursuant to Federal Rule of Bankruptcy
Procedure 3011 and 11 U.S.C. 347, the Funds were deposited into the Registry of the Court. The Funds

then being subject to withdrawal in accordance with 28 U.S.C. 2042.

1.2. Assignor not desirous of attempting collection of the Funds, nor wishing to incur the time
and expense of such collection, does hereby wish and does assign, and convey to the Assignee, for good
and valuable consideration, all of Assignor’s rights, title and interest in the Funds, without the presence of

undue influence or coercion.

NOW THEREFORE, in consideration of mutual obligations, covenants, representations. and warranties

herein, the parties agree as follows:

2. Assignment of Interest.

2.1. Assets Assigned. The assets herein assigned to Assignee are those stated in paragraph 1.]
above, or if more than one creditor claim was made in the Cases identified in Schedule 1, attached
hereinto and incorporated by reference, that collectively are the Funds held for the benefit of Assignor by
the Clerk of the Court of the court identified in paragraph 1.1 in the Unclaimed Funds Registry.

2.2. Assignment of Interest. As herein stated Assignor, hereby does assign, transfer and
convey all of Assignor’s rights, title, and interest in the Funds, in an AS IS basis, for good and valuable
consideration without undue influence or coercion, and of his/her/its free will. In the interest of
consummating this Agreement, both parties do acknowledge and agree to fulfill their obligations herein to
affect the lawful assignment, transfer, and conveyance of the Funds to Assignee.

2.3. Consideration. The consideration herein given by Assignee to Assignor shall be the
performance of all reasonable and necessary services for the collection, recovery, or procurement of the
Funds for a period not to exceed six (6) months. In the event, that recovery of the Funds within the twelve
(12) month period is unsuccessful this Assignment shall terminate and all rights, title and interest in
Funds herein granted shall revert to Assignor. Assignor at Assignor’s discretion may extend this
Assignment by way of addendum so stating and incorporated herein by reference. Such Addendum shall
only modify the duration of the Assignment and nothing else unless otherwise agreed by the parties.

  
  

On this Zesy of , 2019. | certify

that the preceding or attached gocument titled
(Assignment Agreement), ( ages) is a true, accurate
and complete redacted copy of the original being held at
35308 SE CepterStréetSrogqualmie, WA 98065

 

 

 

Andrew T. Drake — Notary Public
My commission expires: September 9th, 2019

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of 6
2.4. Power of Attorney. To the extent necessary under applicable law, the Assignor does
hereby appoint for the limited purpose of collection of the Funds and fulfillment of Assignor’s

obligation(s) under this Agreement, Dilks and Knopik, LLC as its attorney-

3. Closing. The closing of the transaction herein shall be done immed

in-fact.

iately upon fulfillment of each

party's obligations hereunder, or on such other date as the parties may agree (the “Closing Date”). At the
closing, Assignor shall deliver an original of this Agreement and such other documents as may be
required to consummate this transaction, and Assignee shall deliver a countersigned Agreement and any

other document(s) requiring countersignature, and the consideration herein.
paid by the party incurring such costs.

4, Representations and Warranties.

4.1 Assignor. Assignor does hereby represent and warrant that

Any closing costs shall be

(a) he/she/it is legally

competent to execute this Agreement, and has full power, authority and legal right to execute, deliver, and

perform as agreed under this Agreement, (b) that he/she/it is the sole and la

wful entity entitled to the

Funds herein assigned to Assignee, (c) that he/she/it has not otherwise pledged, sold, assigned,
transferred, or conveyed the interest hercin assigned to Assignee to any other party, person or entity, in

whole or in part, providing such proof as may be necessary (d) that he/she/i
proceeding that may affect any right to assign, transfer or convey to Assign
herein contemplated, (e) that he/she/it performs under this contract without

t is not involved in any legal
ee the interest in the Funds
undue influence or coercion

on the part of the Assignee or any other party, (f) that he/she/it shall cooperate with Assignee to fulfill
his/her/its obligations under this Agreement and to Assignor, including execution of this Agreement and
such other documents as may be necessary to effect the assignment to Assignee without delay. Assignor
has verified that all Funds are currently owned by Assignor, (g) that he/she/it acknowledges and
understands that during the period above described in paragraph 2.3 he/she/it shall not attempt or seek to
collect the Funds by way of his/her/its own action, or contract, enlist, or otherwise procure the services of

any other person or entity for the collection, recovery, or procurement of th

¢ Funds, and (f) that by way of

this Assignment he/she/it has granted exclusive right, title, and interest to the Funds for the period of

above referenced.
42 Assignee. Assignee does hereby represent and warrant that

it has full power, authority

and legal right to execute this Agreement, and shall cooperate with Assignor to fulfill its obligations
under this Agreement. Assignee further represents and warrants that by this Assignment it is bound to

perform the services as described in paragraph 2.3 (above).

5. Breach.

5.1. Any misrepresentation as to the Representation and Warranties in paragraph 4.1 by

Assignor shall constitute a breach of this Agreement.

5.2. _ In the event of Breach, Assignee, as its sole and exclusive remedy, shall be entitled to

terminate this Agreement with immediate effect and be entitled to reimburs

ement of any costs or

expenses incurred by Assignee in providing the services to collect, recovery or procure the Funds unless

good cause exists why it should not.

5.3. Upon termination, Assignee shall no longer be required to provide any services to which
it is bound to perform herein, and withdraw any petition previously filed with any agency or court without

liability for the effect(s) of such withdrawal.

6. Waiver. Waiver of any remedy by Assignor shall not constitute or be c
provision of this Agreement by Assignee.

onstrued as a waiver any other

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7. Drafting.

7.1. _ The parties hereto has participated in the drafting of this Agreement, which each party
acknowledges is the result of extensive negotiations between the parties.

7.2. In the event of any ambiguity or question of intent arises, this Agreement shall be
construed as if drafted jointly by the parties and no presumption or burden of proof shall arise favoring or
disfavoring any party by virtue of the authorship of any of the provisions of this Agreement.

8. General Provisions.

8.1. Enforceability. This Agreement constitutes full understanding of the parties superseding
any and all prior agreements, oral or written, and the binding obligations of the parties in accordance with
its terms except as may be limited by operation of law.

8.2. Binding Effect. The terms and provisions of this Agreement shall be binding on and inure
to the benefit of the successors, assigns, heirs, and legatees of the parties.

8.3. Notices. Any notices required to be provided hereunder shall be delivered to the address
of each party as first stated above, or such other address of which each party may notice the other.

8.4. Headings. All headings contained herein are for convenience of reference and
organization only, and shall not be construed or interpreted to be part of this Agreement, nor affect in any
way its meaning or interpretation.

8.5. Mutual Writing. This Agreement has been drafted by mutual contribution of the parties,
and shall not be construed against either party due to authorship.

8.6. Counterparts. This Agreement may be executed in one or more counterparts, each of
which shall be deemed an original, but all of which together shall constitute one and the same instrument.

8.7. Advice of Counsel. Assignor has sought independent legal advice or hereby waives the
opportunity to seek such legal advice prior to the execution of this Agreement.

8.8. Severability. In the event any provision herein is deemed to be invalid, illegal, or
unenforceable, such provision shall be removed, but all other provisions herein shall remain in full force
and effect.

8.9. Choice of Law. This Agreement shall be interpreted in the law of Washington State, any
disputes, claims, or controversies arising under or related to it shall be brought in a court of competent
jurisdiction in King County, Washington. In the event of matter brought before a court, both parties waive
its right to trial by jury, and specifically agree that any matter brought by either party may be decided by a
bench trial, or if appropriate by arbitration under the rules of the court goveming such procedure.

8.10. Time of the Essence. The parties hereto acknowledge that time is of the essence in the
performance of all obligations under this Agreement.

IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed as of the day
and year first written above.

Assignor: TS Lore LE Assignee:

Gvance America, Cash Advance Centers, Inc. ilks pik/LLC
Christian Rudolph - CFO and Treasurer Jefftey Hudspeth — Authorized Signatory

 

Reviewed By Legal
Date 7-2:201

By Lk
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Dilks | &|Knopik

NOTICE OF ASSIGNMENT

For good and valuable consideration, the undersigned, Advance America, Cash Advance Centers,
Inc. ("Assignor"), hereby, assigns, conveys and transfers over and unto Dilks & Knopik, LLC ("Assignee"),
any and all of right, title and interest in and to the below referenced funds/claim(s).

The Assigned funds/claim(s):
The Assigned Funds/Claim(s): Listed on Schedule A

FUNDS/CLAIM(S) ARE BEING ASSIGNED "AS-IS, WHERE-IS" WITH NO WARRANTIES
OR REPRESENTATIONS WHATSOEVER, EXCEPT AS EXPRESSLY PROVIDED IN THE
ASSIGNMENT AGREEMENT, INCLUDING, WITHOUT LIMITATION, WARRANTIES OF
MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE.

IN WITNESS WHEREOF, the parties hereto have caused this notice of assignment to be executed as
of the Thursday, June 27, 2019.

ae America, Cash Advance Centers, Inc.
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Cbstfian Rudolph - CFO and Treasurer

 

Reviewed By Legal

Date Lege
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Schedule A

Eastern District of Arkansas
Eastern District of Arkansas
Western District of Arkansas
District of Arizona
District of Arizona
District of Colorado
District of Colorado
District of Colorado
District of Colorado
District of Colorado
District of Colorado
Middle District of Florida
Centra! District of thiinois
Eastern District of Louisiana
Eastern District of Louisiana
Eastern District of Louisiana
Western District Of Loutsiana
Northern District Of Ohio
Northern District Of Ohio
Northern District Of Ohio
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Southern District Of Ohio
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. Total :

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A Page 1 of 2

Assignor: we nh Assignee (D&K): SBS Assignment Agreement Page 5 of 6

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Schedule A

Gross Amount Account Name (CReTomn bs tolea] dunisdiciten

 

Southern District Of Ohio * a
Southern District Of Ohio
Southern District Of Ohio
Middle District Of Pennsylvania
Middle District Of Pennsyivania
Middle District Of Pennsyivania
Middle District Of Pennsylvania
Middle District Of Pennsylvania
Eastern District of Texas
Eastern District of Texas
Eastern District of Texas
Eastern District of Texas
Northern District of Texas
Southern District of Texas
Southern District of Texas
Eastern District Of Washington
Western District Of Washington
Western District Of Washington
Western District Of Washington
Western District Of Washington
569.34 Advance America 10-35749 Gail M. Martin NA Eastern District Of Wisconsin
303.58 Advance America 07-29890 Jerold J. & Donna J. Lozier NA Eastern District Of Wisconsin
499.68 Advance America 06-21171 Nicosia Nicole King 11 Eastern District Of Wisconsin

306.06 Advance America 11-32073 Lisa M. Fenske NA Eastern District Of Wisconsin
311.70 Advance America 08-29720 Randall R. & Tracy L. Chappie NA Eastern District Of Wisconsin

15,101.75 Total Total

Schedule A Page 2 of 2
Assignor: “27 J \ Assignee (D&K): a Assignment Agreement Page 6 of 6

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Phone: 920.231.2150

Fax: 920.231.5713

‘ E-Mail info@ch13o0shkosh.com
Website: www.ch13o0shkosh.com

REBECCA R. GARCIA
Chapter 13 Trustee in Bankruptcy
EASTERN DISTRICT OF WISCONSIN
P O Box 3170
Oshkosh, WI 54903-3170

October 30, 2015
Clerk, U.S.Bankruptcy Court
Eastern District of Wisconsin
514 East Wisconsin Avenue
Milwaukee, WI 53202

Re: Unclaimed Funds

Dear Unclaimed Court:

Enclosed please find our check # 513676 in the amount of $306.06 which is being sent to you as unclaimed funds. These
funds are from:

Case Number Debtor 4

Debtor 2 Amount
11-32073-MDM LISA M FENSKE

$306.06
The funds issued to ADVANCE AMERICA have become stale-dated (more than 90 days from date of issuance). Our

office has made attempts to contact the creditor without success. The last address we had for ADVANCE AMERICA is
135 NORTH CHURCH STREET SPARTANBURG, SC 29306

Sincerely,
Kalina N Xiong

Chapter 13 Assistant
Enclosure: Check #513676

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CHAPTER 13 TRUSTEE IN BANKRUPTCY c Check #.: 0513676 5 13 b { b

 

 

Payee: US BANKRUPTCY COURT Date: Oct 30, 2015

Case # Debtor Name(s) SSN 1 SSN 2 Payment Principal Interest Balance

1132073 “LISA M FENSKE XXX-XX-6707 306.06 306.06 0.00 0.00
ACCT: 6707. UNSECURED [00003/33)

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i ' TOTALS 306.06 306.06 0.00 0.00

 
United States Bankruptcy Court
For the Eastern District of Wisconsin

 

In Re: Case No. 11-32073-MDM
LIsa M. Fenske

Chapter 13

 

Order Directing Payment of Unclaimed Funds

 

The amount of $306.06 was deposited into the Registry of the United States
Bankruptcy Court on 11/02/2015, as unclaimed of Advance America.

On July 23, 2019, an Affidavit and Request for Release of Unclaimed Funds and
an Affidavit of Mailing confirming that notice was provided to the Office of the United
States Attorney, were filed with this court.

Therefore:

IT IS ORDERED that the Clerk of the United States Bankruptcy Court pay
$306.06 to Dilks & Knopik, LLC, 35308 SE Center St, Snoqualmie, WA 98065.

Dated at Milwaukee, Wisconsin, this day of , 20

 

 

United States Bankruptcy Judge

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DILKS & KNOPIK, LLC

“When Success Matters”

July 23, 2019

United State Bankruptcy Court
Eastern District of Wisconsin
517 East Wisconsin Avenue
Room 126

Attn: Loretta Gordon
Milwaukee, WI 53202

RE: Application for the Release of Unclaimed Funds

Dear Ms. Gordon:

I am applying to the US Bankruptcy Court, Eastern District of Wisconsin for the release of the unclaimed monies due
and owing to Dilks & Knopik, LLC as assignee to Advance America for the amount of $306.06. This is from the

Bankruptcy of LIsa M. Fenske and Case No. 11-32073-MDM.

Thank you for your attention to this matter.

Sincerely,

2

Brian J. Dilks

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35308 SI! Center St
Snoqualmic, WA 98065

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IM 40
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Phone (425) 836-5728
Fax (877) 209-8249
mail admin@dilksknopik.com

www.dilksknopik.com
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